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The parties are directed to address the matter
set forth above to Magistrate Judge Freeman,
to whom this matter has been referred for
general pretrial proceedings. (Dkt. No. 91.)


 11/12/2020
